Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 1 of 12 PageID #: 60




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION
                                Civil Action No. 3:19-cv-790-DJH

  ASHLEA BURR and MARIO DAUGHERTY,                                                     PLAINTIFFS
  on behalf of themselves and as guardians and
  next friends of minor children, J.B., Z.S.W. and Z.S.

  v.

  LOUISVILLE METRO GOVERNMENT,                                                      DEFENDANTS
  JOSEPH TAPP, and UNKNOWN METRO POLICE OFFICERS

                                             *** *** ***

                       AMENDED COMPLAINT AND JURY DEMAND

         Plaintiffs, Ashlea Burr (“Ashlea”) and Mario Daugherty (“Mario”), on behalf of

  themselves and as guardians and next friends of minor children, J.B., Z.S.W. and Z.S.

  (“Children”)(collectively “Plaintiffs”) state the following in support of their claims against

  Defendants, Louisville Metro Government (“Metro”), Detective Joseph Tapp (“Tapp”), and

  unknown Metro police officers (“Officers”).

                     PRELIMINARY STATEMENT AND ALLEGATIONS

         Plaintiffs are a family of five who live in Louisville, including three children under the age

  of 16 who attend Jefferson County schools. On the morning of October 26, 2018, approximately

  18 Swat Team officers raided their home, including smashing the front door, exploding materials,

  and drawing assault rifles on minor children. The raid was not supported by probable cause and

  was based purely on a search warrant affidavit that included materially false statements and

  omissions that merely alleged that someone could have been smoking marijuana at their residence

  on two occasions three weeks and three days prior to the raid.
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 2 of 12 PageID #: 61




            Defendants’ misconduct could have very easily resulted in the death of a parent or child

  for no good reason but did result in the violation of Plaintiffs’ constitutional rights and significant

  emotional damage. Their conduct should be judicially redressed, not only to provide justice to

  Plaintiffs, but so that this does not happen again – perhaps next time with an innocent child or

  parent being shot and killed. This action is brought under 42 U.S.C. § 1983 and related state law

  claims.

                                    PARTIES and JURISDICTION

            1.     Plaintiffs are residents of Louisville, Kentucky.

            2.     Metro is a legal governmental entity.

            3.     Tapp and the Officers acted under color of law in Jefferson County, Kentucky.

            4.     The facts giving rise to this lawsuit occurred in Jefferson County, Kentucky, and

  Defendants are otherwise subject to the personal jurisdiction of this Court.

            5.     Plaintiffs initially brought this lawsuit in state court, and Defendants removed the

  case to this court, invoking its jurisdiction under 28 U.S.C. §1331 and §1343.

                                                  FACTS

            6.     Plaintiffs reside at 1920 W. Chestnut Street, Louisville, Kentucky (the

  “Residence”).

            7.     Plaintiffs are upstanding citizens, and the Residence is a single-family household.

            8.     J.B. was a 13-year-old male at the time of the raid, and his sisters, Z.S.W. and Z.S.,

  were 14-year-old twins at the time of the raid.

            9.     The Children attend Jefferson County schools.

            10.    Plaintiffs are of African American decent.

            11.    Plaintiffs are not and were not drug dealers at the time of the raid.




                                                     2
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 3 of 12 PageID #: 62




         12.     On October 26, 2018, Tapp and a swat team of approximately 13 other Metro police

  officers raided Plaintiffs’ Residence.

         13.     Tapp and/or other Officers broke into the house without reasonable advance

  warning, knocking or probable cause, and shattered the glass front door.

         14.     Tapp and/or other Officers used exploding devices during the raid, which extremely

  frightened Plaintiffs.

         15.     Tapp and/or other Officers drew assault rifles on Plaintiffs, including the Children,

  while yelling commands.

         16.     Plaintiffs initially thought they were being robbed.

         17.     Ashlea shielded her Children from the rifles, and Ashlea and Mario were extremely

  frightened that their Children would be maimed or killed and/or that they themselves would be

  maimed or killed. The Children were extremely frightened that they and/or someone in their family

  would be killed.

         18.     Mario was forced on the ground at gunpoint.

         19.     Z.S. ran through the back door and into the yard in an effort to reach her

  grandmother’s house next door. Officers drew their assault rifles on her, yelling commands at her

  to get on the ground (back yard). Z.S. was extremely frightened, began crying and submitted to

  the ground. It was cold and rainy, and Z.S. was not wearing any socks, shoes or a jacket. She

  repeatedly requested to be taken to her grandmother’s next door, but the Officers refused the

  requests, kept her in the cold, wet conditions, and kept their rifles on her.

         20.     Plaintiffs were searched, including one Officer expressing that Z.S. may have

  weapons in her hair.




                                                    3
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 4 of 12 PageID #: 63




          21.     The Officers and Tapp continued to detain Plaintiffs, with rifles drawn on them,

  even after it became clear that the Residence was a family household – not a drug dealer’s lair.

          22.     Plaintiffs have suffered past, present and future severe emotional distress as a result

  of the raid, including, but not limited to the descriptions above, and also one or more of the

  Plaintiffs: (a) having difficulty sleeping; (b) being afraid when they hear loud bangs or knocks on

  the door; (c) being afraid to go outside; (d) being afraid of the police; (e) fearing being shot and/or

  death; (f) continuing to lock bedroom doors; and (g) undergoing counseling.

          23.     Defendants initially misrepresented (through a claims adjuster) to Plaintiffs’

  counsel that no body camera footage of the raid existed and attempted to conceal this evidence.

          24.     Metro later provided body camera footage but the footage was almost completely

  redacted visually and audibly.

          25.     Plaintiffs expressly reserve the right to amend this Complaint after discovery.

          26.     Metro falsely represented (through a claims adjuster) that Plaintiffs were “drug

  dealers” who deserved how they were treated.

          27.     Defendants’ conduct was willful, in bad faith, malicious, and/or with reckless

  disregard for Plaintiffs’ rights.

             COUNT I – JOSEPH TAPP REGARDING THE SEARCH WARRANT

          28.     Plaintiffs reassert all prior paragraphs as if fully set forth herein.

          29.     In his “probable cause” affidavit, Tapp represented that a “black male named

  Anthony McClain is growing marijuana and has multiple bags of marijuana packaged for sale in

  the front bed room.” Tapp also represented that “a white female named Holly was his girlfriend

  and owned the house.”




                                                      4
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 5 of 12 PageID #: 64




          30.    Those representations were false, made willfully or in reckless disregard for the

  truth, and even the most basic due diligence would have revealed their falsity.

          31.    A simple search of Jefferson County’s PVA records would have shown that a man

  named Kevin Hyde owns the house.

          32.    Ashlea and Mario rent the house.

          33.    Nobody named Anthony McClain or Holly lived at the house at or near the time of

  the raid.

          34.    Ashlea is not white.

          35.    The Children’s grandmother lives next door.

          36.    Nobody in the house was growing marijuana or had multiple bags of marijuana

  packaged for sale.

          37.    The search did not reveal evidence of growing marijuana.

          38.    The search did not reveal multiple bags of marijuana packaged for sale.

          39.    The alleged facts purportedly observed by Tapp do not support probable cause that

  someone was growing and dealing marijuana at the Residence.

          40.    The supposed probable cause was that a “black male” named Mario Daugherty

  visited the house and was the registered owner of a Jaguar, a unidentified “black male” visiting

  the residence for approximately 10 minutes one day weeks prior to the raid, and that Tapp allegedly

  smelled “fresh marijuana” coming from within the Residence on two occasions.

          41.    One of the occasions when Tapp allegedly smelled marijuana was three weeks prior

  to the warrant being served. On the other occasion, Tapp did not even attempt to knock on the

  door. On neither occasion did Tapp obtain any additional information regarding who (if anyone)




                                                  5
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 6 of 12 PageID #: 65




  was smoking marijuana or lived in the house – much less any information that would give probable

  cause that someone was growing and dealing marijuana.

          42.     The search warrant was also based on an alleged “tip” from an informant that

  occurred over 4 months prior to the raid and over one month prior to Plaintiffs even moving into

  their residence at issue.

          43.     Using such grossly stale information from a purported informant as the basis for

  the raid demonstrates not only the lack of probable cause, but also shows Tapp’s willfulness or

  reckless disregard for Plaintiff’s constitutional rights. Further, the fact that the search warrant

  affidavit does not disclose the stale date of the “tip” demonstrates willfulness.

          44.     Neither the search warrant affidavit nor Tapp’s investigatory file discloses any

  information about the purported informant, much less information that would establish credibility

  of the phantom informant. In fact, the affidavit falsely states that the information came from a

  “complaint,” not an informant.

          45.     There was no probable cause to believe that cocaine, heroin, or any other illegal

  narcotics were being distributed from the Residence.

          46.     Tapp, in his official capacity and under color of law, made materially false

  statements and/or omissions to obtain the search warrant with either knowledge of its falsity or

  omission or with reckless disregard for the truth.

          47.     Tapp is not entitled to qualified immunity.

          48.     Such conduct violated Plaintiffs’ Fourth Amendment rights to be protected from

  unreasonable searches and seizures and to be free from warrants without probable cause.

          49.     Such conduct violates 42 U.S.C. § 1983.




                                                    6
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 7 of 12 PageID #: 66




       COUNT II – TAPP AND OFFICERS FOR ILLEGAL SEARCH AND SEIZURE

         50.      Plaintiffs reassert all prior paragraphs as if fully set forth herein.

         51.      The law requires that all entries, searches and seizures with a warrant must be

  executed in a reasonable manner.

         52.      It is completely unreasonable to execute a warrant that vaguely mentions someone

  potentially smoking marijuana at a residence with a swat team of 18 officers, exploding devices,

  forced entry, and assault rifles, particularly when no investigation was done to determine who lived

  in the Residence and given the other false statements and omissions in the affidavit.

         53.      Executing the warrant without knocking and announcing (i.e. “no knock”) was

  unreasonable.

         54.      Tapp and the Officers’ conduct after entry was also unreasonable and excessive, as

  detailed above.

         55.      Tapp and the Officers’ conduct in executing the warrant violated Plaintiffs’ Fourth

  Amendment rights to be protected from unreasonable searches and seizures.

         56.      Such conduct violates 42 U.S.C. § 1983.

                       COUNT III – MONELL CLAIM AGAINST METRO

         57.      Plaintiffs reassert all prior paragraphs as if fully set forth herein.

         58.      Metro’s policy or custom regarding obtaining and/or executing search warrants

  served to deprive Plaintiffs of their Fourth Amendment rights to be protected from unreasonable

  searches and seizures and to be free from warrants without probable cause.

         59.      Metro fails to adequately train its officers regarding obtaining search warrants in

  order to protect citizens’ Fourth Amendment rights to be protected from unreasonable searches

  and seizures and to be free from warrants without probable cause.




                                                      7
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 8 of 12 PageID #: 67




         60.     Metro fails to adequately train its officers regarding executing search warrants in

  order to protect citizens’ Fourth Amendment rights to be protected from unreasonable searches

  and seizures and to be free from warrants without probable cause.

         61.     Metro did not require its officers, including Tapp, who regularly obtained search

  warrants to complete updated, thorough and continuing training regarding obtaining and executing

  search warrants. Tapp received incomplete and outdated training on search warrants in 2010 and

  was not required to take the updated training described below.

         62.     Metro updated its training on obtaining and executing search warrants in January

  2016. Metro then updated its training in January 2018 to include the following protocols, which

  were violated by Tapp in obtaining the search warrant:

                 (a) the officer should have the search warrant reviewed by his/her sergeant, the

                 prosecutor, and an officer who knows nothing about the investigation;

                 (b) the officer should not use stale information for a search warrant and “stale” is

                 defined as being more than 2 days old; and

                 (c) the officer should demonstrate the reliability and credibility of the informant in

                 the search warrant affidavit.

         63.     As alleged more specifically above, including, but not limited to, paragraphs 40-44

  above, Tapp used grossly stale information from a purported informant but failed to establish the

  informant’s credibility in the search warrant affidavit and instead misrepresented in the affidavit

  that the information was from a “complaint.”

         64.     Even the training offered after December 2017 was deficient. It acutely (if not

  solely) focuses on “high risk” warrants and was even titled “Major Case Investigation.” It

  repeatedly shows pictures of large piles of cash and drugs. It does not include sufficient safeguards




                                                   8
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 9 of 12 PageID #: 68




  against treating low risk situations as high risk warrants. As a result, and although no warrant

  should have been issued upon Plaintiffs’ residence, the warrant at issue was executed as a high

  risk warrant (instead of a low risk warrant) with 18 SWAT team officers in “no-knock” fashion,

  instead of being executed as a low risk warrant without the presence of SWAT.

          65.     Metro’s lack of proper training, including training of Tapp, caused, in whole or in

  part, Plaintiffs’ constitutional rights to be violated.

          66.     Further, Metro’s “actual” policy and custom regarding obtaining and executing

  search warrants does not comport with its written policy. Metro’s written policy at the time of the

  incident included the following:

                  (a) officers being required to obtain the approval of their sergeant before applying

                      for a search warrant and the sergeant must be present upon execution;

                  (b) “accuracy” of the information in the search warrant affidavit is “vital”;

                  (c) the affidavit should specify the names of the occupants and detailed descriptions

                      of such individuals;

                  (d) the officer should not rely upon unauthenticated third party information or

                      hearsay;

                  (e) the officer should establish the credibility of an informant; and

                  (f) the officer should corroborate the informant’s information from other sources.

          67.     As specifically alleged above, Tapp did not comport with such policies.

          68.     Despite Tapp violating such “written” policies in irrefutably numerous and flagrant

  respects, Metro admittedly did not even investigate Tapp or the incident, much less discipline him

  or any other officer.




                                                      9
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 10 of 12 PageID #: 69




            69.   Further, the search warrant at issue was undisputedly executed without knocking

  and announcing, as confirmed by body camera footage. However, Metro’s report after the incident

  falsely read; “after knocking and announcing for a reasonable amount of time, SWAT forced

  entry.”

            70.   That falsity was never investigated by Metro, much less did it result in any

  discipline. Instead, as alleged above, Metro initially concealed the body camera videos from

  Plaintiffs and accused them of being drug dealers.

            71.   Instead of properly investigating the incident and disciplining Tapp and the

   Officers, even after being sued by Plaintiffs and this case receiving local and national media

   attention, Metro still ratified and condoned the conduct.

            72.   Likewise, Metro officers continued to obtain and execute unlawful search warrants,

  including, but not limited to, the Breonna Taylor warrant and the Stucker search warrant.

            73.   Metro’s policy or custom results in the issuance of search warrants without

  probable cause and/or execution in an unreasonable manner in violation of Plaintiffs’ Fourth

  Amendment rights.

            74.   Metro is deliberately indifferent to the known or obvious consequences of its true

  policies and customs.

            75.   Metro’s conduct violates 42 U.S.C. § 1983.

                        ADDITIONAL COUNTS – STATE LAW CLAIMS

            76.   Plaintiffs reassert all prior paragraphs as if fully set forth herein.

            77.   The following causes of action are asserted against Tapp and the Officers, in their

  individual and official capacities.




                                                     10
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 11 of 12 PageID #: 70




          78.     Tapp and the Officers restrained, confined and held Plaintiffs against their will,

  depriving them of liberty without consent.

          79.     Thus, they falsely imprisoned Plaintiffs.

          80.     Tapp and the Officers’ conduct was deliberate, unreasonable, and/or with gross

  disregard for Plaintiffs’ rights.

          81.     Tapp and the Officers’ conduct exceeded all reasonable bounds of decency and was

  outrageous and intolerable in a civilized community.

          82.     The conduct caused severe emotional distress to Plaintiffs.

          83.     Thus, it amounts to the tort of outrage.

          84.     Tapp and the Officers’ are liable for official misconduct, pursuant to KRS §

  522.020 and KRS § 446.070, because they intended to obtain or confer a benefit or to injure

  Plaintiffs or to deprive Plaintiffs of a benefit, knowingly: (a) committing an act relating to his

  office which constitutes an unauthorized exercise of his official functions; or (b) refrains from

  performing a duty imposed upon him by law or clearly inherent in the nature of his office; or (c)

  violates any statute or lawfully adopted rule or regulation relating to his office.

          85.     Defendants have violated Section 10 of the Bill of Rights of the Kentucky

  Constitution to be free from unreasonable search and seizure and to be free from warrants without

  probable cause, and without description as nearly as may be.

                                               DAMAGES

          86.     As the result of each and every cause of action, Plaintiffs suffered damages,

  including emotional injuries, past, present, and future, in amounts to be determined by the jury,

  nominal damages, property damage, punitive damages, and their attorney fees, court costs, and

  interest.




                                                    11
Case 3:19-cv-00790-DJH-RSE Document 10-1 Filed 11/18/20 Page 12 of 12 PageID #: 71




         WHEREFORE, Plaintiffs respectfully request this Court:

         1. Grant trial by jury;

         2. Enter Judgment against Defendants and in Plaintiffs’ favor, including compensatory

  damages, punitive damages, court costs, interest at the legal rates, and attorney's fees; and

         3. Grant any and all other relief the Court or jury deems appropriate.

                                                Respectfully submitted:


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                                                   12
